
STEELMAN, Judge.
Defendant was charged and convicted of common law robbery. The trial court sentenced defendant to a mitigated sentence of 8-10 months imprisonment. This sentence was suspended, and defendant was placed on probation for 36 months. Defendant appeals.
Counsel appointed to represent defendant has been unable to identify any issue with sufficient merit to support a meaningful argument for relief on appeal, and asks that this Court conduct its own review of the record for possible prejudicial error. Counsel has also shown to the satisfaction of this Court that she has complied with the requirements of Anders v. California, 386 U.S. 738, 18 L. Ed. 2d 493, reh'g denied, 388 U.S. 924, 18 L. Ed. 2d1377 (1967), and State v. Kinch, 314 N.C. 99, 331 S.E.2d 665 (1985), by advising defendant of his right to file written arguments with this Court and providing him with the documents necessary for him to do so.
Defendant has not filed any written arguments on his own behalf with this Court, and a reasonable time in which he could have done so has passed. In accordance with Anders, we have fully examined the record to determine whether any issues of arguable merit appear therefrom or whether the appeal is wholly frivolous. We conclude that the appeal is wholly frivolous. Furthermore, we have examined the record for possible prejudicial error and found none.
NO ERROR.
Judges HUNTER and ELMORE concur.
Report per Rule 30(e).
